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                      UNITED STATES COURT OF APPEALS
                           FOR THE THIRD CIRCUIT
                                ___________

                                     No. 20-1548
                                     ___________

                                   PETER SAUERS,
                                      Appellant

                                           v.

OAK PROPERTY MANAGEMENT LP; ASHLEY MANAGEMENT CO; BUILDERS
              COUNTY; MIKE MISTER; KEVIN RILEY
              ____________________________________

                    On Appeal from the United States District Court
                        for the Eastern District of Pennsylvania
                      (E.D. Pa. Civil Action No. 2-19-cv-01429)
                     District Judge: Honorable Gene E.K. Pratter
                     ____________________________________

                  Submitted Pursuant to Third Circuit LAR 34.1(a)
                                 March 16, 2021
              Before: AMBRO, PORTER, and SCIRICA, Circuit Judges
                                  ___________

                                     JUDGMENT
                                     ___________


      This cause came to be considered on the record from the United States District

Court for the Eastern District of Pennsylvania and was submitted pursuant to Third

Circuit LAR 34.1(a) on March 16, 2021. On consideration whereof, it is now hereby


      ORDERED and ADJUDGED by this Court that the judgment of the District Court

entered February 20, 2020, be and the same is hereby affirmed. Costs taxed against the
         Case:2:19-cv-01429-GEKP
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 Appellant. All of the above in accordance with the opinion of this Court.

                                                        ATTEST:

                                                        s/ Patricia S. Dodszuweit
                                                        Clerk
 Dated: March 17, 2021




 Certified as a true copy and issued in lieu
 of a formal mandate on June 29, 2021


Teste:
Clerk, U.S. Court of Appeals for the Third Circuit
